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  HAWAII STATE DEPARTMENT
  OF EDUCATION

                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  A.B. and A.M.B, by their parents and        CIVIL NO. 18-00477 LEK-RT
  next friends, C.B. and D.B., and T.T., by
  her parents and next friends, K.T. and      DEFENDANT HAWAII STATE
  S.T., and A.P., by her parents and next     DEPARTMENT OF EDUCATION’S
  friends, C.P. and M.P.,                     OBJECTION TO PLAINTIFFS’
                                              MOTION TO ADMIT
                     Plaintiffs,              ELIZABETH BIXBY PRO HAC
                                              VICE FILED OCTOBER 15, 2019
              vs.                             [ECF 126]; CERTIFICATE OF
                                              SERVICE
  HAWAII STATE DEPARTMENT OF
  EDUCATION and OAHU
  INTERSCHOLASTIC ASSOCIATION,
                                              Trial Date: October 26, 2020
                                              Judge: Honorable Leslie E. Kobayashi
                     Defendants.

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        DEFENDANT HAWAII STATE DEPARTMENT OF EDUCATION’S
       OBJECTION TO PLAINTIFFS’ MOTION TO ADMIT ELIZABETH
         BIXBY PRO HAC VICE FILED OCTOBER 15, 2019 [ECF 126]

             COMES NOW HAWAII STATE DEPARTMENT OF EDUCATION

  (“DOE”), by and through its counsel, Clare E. Connors, Attorney General of the

  State of Hawaii, Caron M. Inagaki, Kendall J. Moser, William K. Awong and John

  M. Cregor, Jr., Deputy Attorneys General, and objects to Plaintiffs’ Motion to

  Admit Elizabeth Bixby Pro Hac Vice filed October 15, 2019 (“Motion”) [ECF

  126]. The Court has discretion regarding admission of pro hac vice attorneys;

  plaintiffs already have six (6) Pro Hac Vice attorneys to date (and have a total of

  ten (10) counsel of record).

             DATED: Honolulu, Hawaii, October 16, 2019.

                                         STATE OF HAWAII

                                         CLARE E. CONNORS
                                         Attorney General of Hawaii


                                         /s/ WILLIAM K. AWONG
                                         JOHN M. CREGOR, JR.
                                         KENDALL J. MOSER
                                         WILLIAM K. AWONG
                                         Deputy Attorneys General

                                         Attorneys for Defendant
                                         HAWAII STATE DEPARTMENT
                                         OF EDUCATION




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